                             UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

    BAYOU CITY WATERKEEPER                          §
        Plaintiff                                   §
                                                    §
    v.                                              §          CIVIL ACTION NO. 4:18-cv-03369
                                                    §
    CITY OF HOUSTON                                 §
         Defendant                                  §

                          DEFENDANT CITY OF HOUSTON’S
                   UNOPPOSED MOTION TO EXTEND DISCOVERY STAY

           Defendant City of Houston (the “City”) requests that the Court extend the current stay of

discovery an additional 31 days until August 31, 2020.              The City understands that the United

States of America and the State of Texas plan to file their Motion to Enter the Consent Decree

within a matter of days, or earlier, but the current stay expires at midnight on July 31, 2020.

           In its May 5, 2020 Order, the Court stayed discovery in this case until July 31, 2020,

because of the pending Consent Decree that has been lodged in the related lawsuit filed against the

City by the United States of America and the State of Texas that is now pending in Judge

Eskridge’s court: United States v. City of Houston, No. 4:18-CV-3368 (S.D. Tex.) (the “United

States’ Lawsuit”).1 The Court stated that if “the settlement in the United States’ Lawsuit has not

been finalized by that date, the parties may request an extension of the stay.”2

           The United States and Texas have formally lodged the Consent Decree containing the terms

of the settlement in the United States’ Lawsuit.3 As part of the settlement-approval process in the

United States’ Lawsuit, the United States and Texas have provided the required public notice and


1
 See Doc. 37. The United States’ Lawsuit was previously in Judge Werlein’s court. On October 23, 2019, the United
States’ Lawsuit was transferred to Judge Eskridge’s court. See Doc. 41 in the United States’ Lawsuit.
2
    Id.
3
    Doc. 27.
opportunity for public comment. 4 The United States published information regarding the

settlement in the Federal Register on September 3, 2019, with the comment period concluding on

October 3, 2019.5 At BCW’s request, the United States extended the comment period to until

November 8, 2019.6

           The City has consulted with the United States and Texas regarding the status of their review

and response to comments. The United States and Texas indicated that their motion incorporating

their response to comments should be filed in the next several days. Once that motion is filed, the

district court in that case will be able to review the motion and the response to comments and

Consent Decree, and rule upon its entry.

           To ensure that the stay is extended until the Motion to Enter the Consent Decree is filed,

the City, therefore, requests that the Court extend the current stay on discovery an additional 31

days, until August 31, 2020.




4
    28 C.F.R. § 50.7; TEX. WATER CODE § 7.110.
5
    84 FED. REGISTER 46,049 (Sep. 3, 2019).
6
    84 FED. REGISTER 54,181 (Oct. 9, 2019).

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                          Respectfully submitted,

                                                    /s/ Debra Tsuchiyama Baker
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                                   CERTIFICATE OF SERVICE

       I hereby certify that on July 31, 2020, a copy of the above document was served on all
counsel of record via the Court’s electronic filing system.

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                              /s/ Debra Tsuchiyama Baker
                              Debra Tsuchiyama Baker


                                CERTIFICATE OF CONFERENCE

       I hereby certify that on July 31, 2020, I conferred with Plaintiff Bayou City Waterkeeper’s
counsel Lauren Ice, who informed me that Plaintiff Bayou City Waterkeeper does not oppose the
Court granting the relief requested in this motion.

                              /s/ Debra Tsuchiyama Baker
                              Debra Tsuchiyama Baker




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